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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 MICHAEL L. TAYLOR and PETER M.
 TAYLOR,
        Petitioners,

                   v.
                                                           Case No. 4:20-cv-11272-IT
 JEROME P. MCDERMOTT, Sheriff, Norfolk
 County, Massachusetts, and JOHN
 GIBBONS, United States Marshal, District of
 Massachusetts,

        Respondents.


       PETITIONERS’ EMERGENCY MOTION FOR STAY OF EXTRADITION
                PENDING EXERCISE OF APPELLATE RIGHTS

       Pursuant to the Court’s inherent authority and Rule 8(a)(1)(A) of the Federal Rules of

Appellate Procedure, Petitioners move the Court to stay their extradition to Japan through the

balance of these proceedings and any appeal(s). Failing to stay the Taylors’ extradition until they

have had the opportunity to exercise their appellate rights will result in their imminent extradition

to Japan where they will be held in conditions that would never be permitted by any U.S. court,

subjected to lengthy interrogation without the presence of counsel, subjected to mental and

physical torture, and face prosecution and imprisonment for a supposed offense that may not even

exist under Japanese law. In addition to these irreparable harms, the Taylors’ extradition would

moot their appeal and thus deprive the Taylors of their right to obtain appellate review of the

Court’s rulings.

       Accordingly, Petitioners respectfully request that the Court enter an Order staying the

Taylors’ surrender and/or extradition to Japan pending their pursuit of appellate relief. In the

alternative, Petitioners ask that the Court at least enter an Order staying the Taylors’ surrender
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and/or extradition pending their filing, and the First Circuit’s ruling on, a motion seeking such a

stay from the Court of Appeals pursuant to Rule 8(a)(2) of the Federal Rules of Appellate

Procedure.

       On the evening of January 28, 2021, the Government represented to counsel for Petitioners

that the Taylors would not be surrendered to Japan within the next seven days. Counsel for the

Taylors requested the Government’s consent to the relief requested, but the Government has stated

that it is not prepared to agree to anything beyond its assurance that the Taylors will not be

surrendered within the next seven days. Accordingly, because the Government could unilaterally

moot the Taylors’ appeal and deprive them of the opportunity for any appellate review by

surrendering them to Japan, and the Government has committed only to not doing so prior to

February 5, 2021, we request that the Court act on the instant Motion as quickly as possible or, if

the Court believes it requires more time, enter a temporary stay of the Taylors’ extradition and/or

surrender during the Court’s consideration of the instant Motion.

                                       LEGAL STANDARD

       In determining whether to grant a stay pending appeal, courts consider the following

factors: “(1) whether the stay applicant has made a strong showing that he is likely to succeed on

the merits; (2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance

of the stay will substantially injure the other parties interested in the proceeding; and (4) where the

public interest lies.” Nken v. Holder, 556 U.S. 418, 426 (2009) (quoting Hilton v. Braunskill, 481

U.S. 770, 776 (1987)).

       Each factor “contemplate[s] individualized judgments in each case, [and] the formula

cannot be reduced to a set of rigid rules.” Hilton, 481 U.S. at 777. However, “[t]hese [four] factors

are not prerequisites that must be met, but are interrelated considerations that must be balanced




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together.” SEIU Local 1 v. Husted, 698 F.3d 3431, 343 (6th Cir. 2012) (internal quotation marks

and citation omitted). “No one factor is determinative and all may be considered on a sliding

scale.” Momenta Pharm., Inc. v. Amphastar Pharm., Inc., 834 F. Supp. 2d 29, 30 (D. Mass. 2011).

       In particular, the first two factors—likelihood of success and irreparable harm—are “the

most critical,” Nken, 556 U.S. at 434, and they operate on a sliding scale such that a strong showing

on one may offset a lesser showing on the other. Ross-Simons of Warwick, Inc. v. Baccarat, Inc.,

102 F.3d 12, 19 (1st Cir. 1996) (“the predicted harm and the likelihood of success on the merits

must be juxtaposed and weighed in tandem”); Boston Taxi Owners Ass’n, Inc. v. City of Boston,

180 F. Supp. 3d 108, 127 (D. Mass. 2016) (“Courts balance these factors on a ‘sliding scale,’

sometimes awarding relief based on a lower likelihood of success on the merits when the potential

for irreparable harm is high.”). Further, when the Government is the opposing party, the third and

fourth factors merge. Nken, 556 U.S. at 435.

       As detailed below, analysis of the four traditional factors warrant a stay of extradition

pending appeal in this case. Indeed, where the government has committed only to not extraditing

and/or surrendering during a brief period of time (here, on or before February 4, 2021) and has

declined to commit to refraining from extradition or surrender after that point, and there is thus a

clear threat of removal prior to the outcome of pending review, courts in this circuit and elsewhere

have granted stays in habeas cases pending an appeal. See, e.g., Romeo v. Roache, 820 F.2d 540,

541 (1st Cir. 1987) (where district court refused to stay extradition pending appeal, First Circuit

ordered stay of extradition pending review); United States v. Lui Kin-Hong, 110 F.3d 103, 121 (1st

Cir. 1997) (“We stay in any event delivery of the certificate of extraditability to the Secretary of

State … to permit Lui to seek relief from the United States Supreme Court”); see also

Ntakirutimana v. Reno, 184 F.3d 419, 423 n.7 (5th Cir. 1999) (stay of extradition pending appeal);




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Smith v. Hood, 121 F.3d 1322, 1327 (9th Cir. 1997); Then v. Melendez, 92 F.3d 851, 853 n.1 (9th

Cir. 1996); Spatola v. United States, 925 F.2d 615, 617 (2d Cir. 1991); Pukulski v. Hickey, 731

F.2d 382, 383 (6th Cir. 1984); In re Assarsson, 670 F.2d 722, 724 n.2 (7th Cir. 1982); Tavarez v.

U.S. Attorney General, 668 F.2d 805, 811 (5th Cir. 1982) (“district court has ‘inherent power’ to

stay extradition of petitioner pending his appeal of court’s denial of habeas corpus”) (citing Jiminez

v. Aristiguieta, 314 F.2d 649, 652 (5th Cir.), cert. denied, 372 U.S. 973 (1963)); Artunes v. Vance,

640 F.2d 3 (4th Cir. 1981) (stay granted pending hearing on habeas corpus petition, and apparently

remained in effect after timely appeal filed); Martinez v. United States, No. 3: 14-CV-00174, 2014

WL 4446924, at *2-6 (M.D. Tenn. Sept. 9, 2014); Nezirovic v. Holt, No. 7:13CV428, 2014 WL

3058571, at *2 (W.D. Va. July 7, 2014); Zhenli Ye Gon v. Holt, No. 7:11-cv-00575, 2014 WL

202112 at *1-2 (W.D. Va. Jan. 17, 2014); Noriega v. Pastrana, No. 07-CV-22816-PCH, 2008 WL

331394, at *1 (S.D. Fla. Jan. 31, 2008).

                                           ARGUMENT

       A.      Petitioners Are Likely to Succeed on the Merits of Their Appeal or, At the
               Very Least, Have Presented Serious Questions on the Merits

       “To obtain a stay, pending appeal, a movant must establish a strong likelihood of success

on the merits or, failing that, nonetheless demonstrate a substantial case on the merits provided

that the harm factors militate in its favor.” Momenta Pharm., Inc. v. Amphastar Pharm., Inc., 834

F. Supp. 2d 29, 30 (D. Mass. 2011) (quoting Eon–Net, L.P. v. Flagstar Bancorp, Inc., 222 Fed.

Appx. 970, 971–72 (Fed. Cir. 2007)). As referenced previously above, “[t]he requirements of

likelihood of success and irreparable harm often operate on a sliding scale such that ‘when the

likelihood of success on the merits is great, a movant can show somewhat less in the way of

irreparable harm.” EEOC v. Astra USA, 94 F.3d 738, 743–44 (1st Cir. 1996). In so stating, the

First Circuit also acknowledged that the sliding scale can also move in the opposite direction. Id.



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(“Simply stated, more of one excuses less of the other.”) (quoting Michigan Coalition of

Radioactive Material Users, Inc. v. Griepentrog, 945 F.2d 150, 153 (6th Cir. 1991)); Maram v.

Universidad Interamericana De Puerto Rico, Inc., 722 F.2d 953, 958 (1st Cir. 1983) (stating that

“these interests must be weighed inter sese”); see also Pub. Serv. Co. of New Hampshire v. Patch,

167 F.3d 15, 26-27 (1st Cir. 1998) (“[W]e have considered whether at least one or more of the

claims put forth by PSNH provides fair grounds for further litigation—this lesser standard being

defensible in light of the rather powerful showing of irreparable injury made by PSNH.”) (citing

Washington Metro. Area Transit Comm’n v. Holiday Tours, Inc., 559 F.2d 841, 844-45 (D.C. Cir.

1977)); Hamilton Watch Co. v. Benrus Watch Co., 206 F.2d 738, 740 (2d Cir. 1953) (“[I]f ... the

balance of hardships tips decidedly toward plaintiff ... it will ordinarily be enough that the plaintiff

has raised questions going to the merits so serious, substantial, difficult and doubtful, as to make

them a fair ground for litigation and thus for more deliberate investigation.”); In re Aerovox, Inc.,

281 B.R. 419, 433 (Bankr. D. Mass. 2002) (“the greater the harm the less emphasis need be placed

on the likelihood of success on the merits”).

       As such, even where courts have found that a petitioner has not made a strong showing

that he or she is likely to prevail on the merits, courts have still granted a stay of extradition. See

Noriega v. Pastrana, No. 07-CV-22816-PCH, 2008 WL 331394, at *1 (S.D. Fla. Jan. 31, 2008)

(even though court found petitioner had not made a strong showing he was likely to prevail on the

merits, “in balancing the other factors, the Court finds that they weigh heavily in favor of a stay

and that a stay pending resolution of [petitioner’s] appeal is appropriate and in the interest of

justice”); cf. A.W. Chesterton Co., Inc. v. Chesterton, 907 F. Supp. 19, 22 (D. Mass. 1995) (in

proving likelihood of success on the merits, “the movant need not demonstrate that there is no




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chance that he will lose”). The Ninth Circuit addressed this question at length in Leiva–Perez v.

Holder, 640 F.3d 962 (9th Cir. 2011):

       There are many ways to articulate the minimum quantum of likely success
       necessary to justify a stay-be it a “reasonable probability” or “fair prospect,” as
       Hollingsworth [v. Perry, 558 U.S. 183, 190-91 (2010)], suggests; “a substantial
       case on the merits,” in Hilton’s words [Hilton v. Braunskill, 481 U.S. 770, 778
       (1987)]; or, as articulated in Abbassi [v. I.N.S., 143 F.3d 513, 514 (9th Cir. 1998)],
       that “serious legal questions are raised.” We think these formulations are
       essentially interchangeable, and that none of them demand a showing that success
       is more likely than not. Regardless of how one expresses the requirement, the idea
       is that in order to justify a stay, a petitioner must show, at a minimum, that she has
       a substantial case for relief on the merits.

Id. at 967–68 (emphasis added; internal footnote omitted).

       Indeed, in determining whether an appeal “raises a substantial question of law or fact likely

to result in reversal or an order for a new trial” as a criminal defendant must show to obtain bail

pending an appeal, the First Circuit has held that even this requirement (which is not balanced

against irreparable harm) “should not be read to mean that ‘it was more likely than not’ that

conviction would be reversed on appeal.” United States v. Bayko, 774 F.2d 516, 521 (1st Cir.

1985). If the standard required a district court to conclude that it was likely to be reversed, then

that stay or bail would never be granted pending appeal. Id. at 522 (“[W]e are unwilling to attribute

to Congress the cynicism that would underlie the provision were it to be read as requiring the

district court to determine the likelihood of its own error.”) (quoting United States v. Miller, 753

F.2d 19, 23 (3d Cir. 1985)). Instead, the court must simply find that (1) the appeal raises a

substantial question of law or fact, and (2) if that question is determined favorably to the appellant,

the result would likely be reversal or a new trial. Id.

       For example, in Nezirovic v. Holt, No. 7:13CV428, 2014 WL 3058571 (W.D. Va. July 7,

2014), the district court stayed extradition pending appeal to the Fourth Circuit. In that case, the

habeas petition had raised statute of limitations and ex post facto challenges to the offense for



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which extradition was sought, arguments which the district court had rejected in denying the

petition. See Nezirovic v. Holt, 990 F. Supp. 2d 606, 609 (W.D. Va. 2014), aff’d, 779 F.3d 233

(4th Cir. 2015). However, the court recognized that “scant case law” existed on the issues and that

“the law is not well settled on at least some” of the issues raised by the petitioner. 2014 WL

3058571, at *1. The court also noted that its legal determinations and any mixed questions of law

and fact would be reviewed de novo on appeal. As such, the court stayed extradition despite its

conviction that it had reached the correct conclusion in denying the petition. Id.

       As another example, in Martinez v. United States, No. 3: 14-CV-00174, 2014 WL 4446924,

at *4 (M.D. Tenn. Sept. 9, 2014), the district court similarly stayed extradition pending appeal of

its denial of a habeas petition without concluding that the petitioner’s arguments were likely to

succeed on appeal. The district court explained as follows:

       The court agrees with [petitioner] that the legal arguments he raises present rarely-
       litigated and difficult issues, and there is particularly a dearth of precedent in this
       circuit on these types of matters. The court finds [petitioner’s] legal arguments to
       be well-articulated, well-argued, and supported with authority as well as possible
       given the scarcity of case law on these questions. In sum, the court finds that
       [petitioner’s] claims do raise “serious questions going to the merits,” sufficient to
       satisfy the first prong of the stay analysis.

2014 WL 4446924, at *4.

       Here, Petitioners have at the very least set forth substantial issues raising serious questions

bearing upon the legal propriety of the Taylors’ extradition. Petitioners maintain that the alleged

offense on which Japan bases its extradition requests is premised upon a novel and unprecedented

expansion of Article 103 of the Japanese Penal Code that is articulated, if at all, by implication and

inference in the applications for warrants for the Taylors’ arrest. Japan’s theory of the offense is

both contrary to the plain language of Article 103 and the entirety of the history of prosecutions

and accumulated case law thereunder. Accordingly, the instant extradition requests raise a new




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and substantial issue that merits serious consideration: whether, and to what extent, U.S. courts

should defer to a foreign sovereign’s assertions as to its own law where a credible argument is

presented that the facts alleged (even if true) do not, as a matter of law, make out the criminal

offense for which extradition is sought and the foreign sovereign has never brought a prosecution

under the same theory against its own citizens engaging in similar conduct (despite that the type

of conduct underlying the alleged offense is a widely-recognized problem in the foreign country).

       There is no case law bearing directly on this issue, and scant case law even to which the

parties or the court may analogize. Unquestioning deference to the foreign sovereign (as Judge

Cabell did in this case) opens a significant loophole and renders meaningless the Treaty’s

requirement of probable cause that the accused committed an offense within the scope of the

Treaty. In denying the Petition, this Court held that “[c]itizens are protected from the threat that a

foreign government will simply ‘argue that something is prosecutable under its laws’ not by the

court’s opining on foreign law but by the dual criminality provisions in extradition treaties” (Dkt.

81 at 10), reasoning that the fact that what the Taylors are alleged to have done in Japan would

have been a crime under U.S. law if committed in the U.S. was sufficient assurance that the alleged

conduct was criminal in Japan. But there is no authority for this analysis, which essentially turns

the dual criminality concept into a single-pronged requirement. We respectfully contend that the

courts cannot merely assume something is criminal in a foreign nation just because it is criminal

in the U.S. any more than the courts can assume something is illegal in the U.S. simply because it

is prohibited abroad. Indeed, neither the Court nor the Government dispute the point that the crime

that the Taylors would have committed if they had done what they are alleged to have done in the

U.S.—aiding and abetting bail jumping in violation of 18 U.S.C. §§ 2, 371, 3146, and/or 3148—

actually is widely acknowledged to not be a crime in Japan. (See Dkt. at 12-13.)




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       Further, Peter Taylor also has raised substantial issues regarding the sufficiency of the

evidence to establish probable cause that he himself committed a violation of Article 103, even if

it could properly be applied to the alleged facts in these cases. The Court, however, refused to

consider the substantive merits of these arguments, holding that the Taylors’ Motion to Amend

was untimely. (Dkt. 80.) However, the ruling by Magistrate Judge Cabell of which Petitioners

sought this Court’s review was not issued until January 15, 2021. (Dkt. 74-1.) Petitioners filed

their Motion just nine days later. (Dkt. 79.) By refusing to permit Petitioners to amend their

petition, the Court has denied them any review of Magistrate Judge Cabell’s substantive ruling

that the evidence (even without the disputed allegation that Peter Taylor provided Mr. Ghosn with

a key to his room at the Grand Hyatt Tokyo) “still provides probable cause to believe that [Peter

Taylor] assisted in the planning, financing, and execution of Ghosn’s escape as alleged.” (Dkt.

74-1.) As Petitioners have detailed (see Dkt. 68-1 at 8–9; Dkt. 75-1 at 7–10; Dkt. 79 at 3-4), this

ruling is insufficient as a matter of law to meet the requirement of probable cause “that the person

sought has committed the offense for which extradition is requested,” Treaty Art. VIII, § 3, because

Japanese law plainly does not prohibit “mak[ing] preparations for the purpose of committing” an

Article 103 offense or “together with one or more persons, … plann[ing] to commit an act that

constitutes” such an offense. And nothing in the allegations or the evidence establishes that Peter

Taylor took any action which enabled Mr. Ghosn to escape. (See Dkt. 75-1 at 10–14; Case No.

4:20-mj-01070-DLC, Dkt. 61 at 9–13.)

       Further still, the Taylors have raised substantial issues regarding their likely treatment if

extradited to Japan and, under the circumstances, whether the Deputy Secretary of State’s decision

to do so violates U.S. law prohibiting extradition where it is more likely than not that an extraditee

will be subjected to torture. The Court correctly held that it has habeas jurisdiction to review the




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Secretary of State’s determinations under the Convention Against Torture, but its ultimate

conclusion that the evidence presented by the Taylors “failed to establish that no reasonable

factfinder could find anything other than that they are more likely than not to be subjected to torture

in Japan” (Dkt. 81 at 28) is a substantial issue for appeal on which the Taylors are likely to prevail.

The Court’s ruling, we believe, summarily discounts the Taylors’ evidence as falling short of the

“severe physical or mental pain or suffering” contemplated by the definition of torture, but this

ruling, while recognizing that the treatment the Taylors receive will be “deplorable” (Dkt. 81 at

28), fails to account for or address the full body of evidence in the record, which includes, inter

alia, the following:

      Descriptions of the specific treatment of three individuals—Mr. Ghosn, Greg Kelly, and
       Scott McIntyre—each of whom were subjected to treatments meeting the definition of
       torture, including being subjected to prolonged periods of solitary confinement (five weeks
       without a bed or, initially, a pillow for Mr. Kelly); forced to sleep shoulder-to-shoulder
       with other prisoners (Mr. McIntyre); denied a bed and forced to sleep on the floor (Mr.
       Kelly and Mr. Ghosn); deprived of heat in the dead of winter (Mr. Kelly) or provided “a
       low heated room” (Mr. Ghosn); denied medical care (Mr. Kelly) or access to medications
       (Mr. Ghosn); denied access to any clock, calendar or other time-keeping device (Mr. Ghosn
       and Mr. McIntyre); subjected to lights-on conditions at all times (Mr. Ghosn and Mr.
       McIntyre); required to remain seated, Japanese-style, at a low table on the floor with no
       chairs (Mr. McIntyre); addressed only by prisoner number, and not one’s name (Mr.
       McIntyre); interrogated constantly, day and night without breaks (Mr. Ghosn); held for up
       to seven hours prior to interrogation in a tiny, cold and dark cell, shoulder-to-shoulder with
       up to 12 other detainees while not being permitted to stand, move or talk (Mr. McIntyre);
       permitted to shower just twice a week (Mr. Ghosn and Mr. McIntyre); prevented from
       sleeping for more than an hour or two at a time (Mr. McIntyre); and given only 30 minutes
       (Mr. Ghosn) or 15-20 minutes (Mr. McIntrye) time outside and only on non-holiday
       weekdays. (Dkt. 57-10, 59-17, 59-19, 61-2, 61-3, 63-2, 78-2 & 78-3.)
      An Opinion issued by the Working Group on Arbitrary Detention, a body of independent
       human rights experts that investigate cases of arbitrary arrest and detention under mandate
       of the United Nations’ Human Rights Council, validating Mr. Ghosn’s claims with respect
       to his treatment, finding his detention and treatment by Japan to have violated numerous
       provisions of international law, concluding Mr. Ghosn should receive “compensation and
       other reparations” from Japan, and, significantly, observing that the practices to which Mr.
       Ghosn was subjected in Japan (which included solitary confinement, inability to leave his
       cell, deprivation of exercise, constant light to disturb sleep, absence of heating, and
       continuous interrogation sessions lasting on average five hours) and Japan’s general
       “interrogation and detention practices under the daiyo kangoku system … may severely


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       limit the right to a fair trial and expose detainees to torture, ill-treatment and coercion”
       and referring the case to the Special Rapporteur on torture and other cruel, inhuman or
       degrading treatment or punishment for further action. (Dkt. 63-2 (emphasis added).)
      A March 2020 article by three then sitting U.S. Senators (Roger Wicker, Lamar Alexander,
       and Marsha Blackburn) describing Mr. Kelly’s treatment by Japan, including being “kept
       in solitary confinement for five weeks without a bed or, initially, a pillow” while suffering
       from chronic neck pain and being denied critical neck surgery. (Dkt. 59-17.)
      A floor speech by U.S. Senator Roger Wicker Senator confirming that Mr. Kelly “was
       treated with cruelty by Japanese authorities from day one,” describing how Mr. Kelly was
       kept in solitary confinement for 34 days in an unheated cell where he was forced to sleep
       on the floor, detailing Mr. Kelly was interrogated for multiple hours on a daily basis
       without the benefit of defense counsel, and confirming that Mr. Kelly’s “requests for
       medical attention were refused.” (Dkt. 78-2 & 78-3.)
      A statement by a former Japanese senator, Tadashi Inuzuka, confirming Mr. Ghosn’s
       subjection to solitary confinement. (Dkt. 59-5 at 357-58.)
      A letter signed by 1,010 Japanese legal professionals reporting, inter alia, that “[i]t is not
       uncommon for suspects to be yelled at from close range,” “[m]ost suspects” are “placed
       under constant police surveillance, including during mealtimes or in toilets,” identifying as
       “a systemic problem” the fact that “suspects who do not confess are detained for a long
       period of time,” confirming that Japan “uses sufferings caused by prolonged detention and
       interrogation to force confession” and “violates international human rights standards
       including … the prevention of torture.” (Dkt. 59-7.)
      An Amnesty International Report from 2015 finding that the Japanese justice system
       “continued to facilitate torture and other ill-treatment to extract confessions during
       interrogation” and “[d]espite recommendations from international bodies, no steps were
       taken to abolish or reform the system in line with international standards.” (Dkt. 59-12.)

       While the above represents only some of the evidence submitted by the Taylors, it includes

specific recognition by the United Nations, Amnesty International and more than 1,000 Japanese

legal professionals that Japan’s systemic treatment of detainees rises to the level of torture and the

conduct detailed in these statements and reports is of the type that the courts previously have

recognized as constituting torture. See, e.g., Guzman-Nunez v. Barr, 822 F. App’x 563, 566 (9th

Cir. 2020) (intentional denial of medical care as a form of punishment would be torture under

CAT); Kang v. Attorney Gen. of U.S., 611 F.3d 157, 16567 (3d Cir. 2010) (sleep deprivation, bright

lights, extended periods of remaining in uncomfortable position, along with other severe

mistreatment as part of interrogation is torture). Accordingly, there is a substantial basis for appeal


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of the Court’s determination that Petitioners have not produced sufficient evidence that they are

likely to be subjected to torture if extradited to Japan.

       These are issues that merit full and careful consideration, and the stakes are enormous for

the Taylors. The very least the U.S. courts owe the Taylors is a full chance to litigate these issues,

including exercising their appellate rights and options, before they are consigned to the fate that

awaits them at the hands of the Japanese government. But if a stay is not entered, there will be no

review at all and this Court and the First Circuit will lose jurisdiction to address any of the issues

raised by the Taylors.

       B.      Petitioners Will Suffer Irreparable Harm if a Stay Is Not Granted

       Without a stay, the Taylors will be extradited to Japan to face criminal charges there. The

United States has not promised otherwise and, in fact, has stated that Japanese law enforcement

officials are traveling, or already have traveled, to Massachusetts to take custody of the Taylors.

(See Dkt. 50 at 3, n.2.) If a stay is not granted, the Taylors will be extradited to Japan and face

prosecution and loss of liberty there for an offense that might not be extraditable under the U.S.-

Japan Extradition Treaty and lose their right to appeal the district court’s determination that their

extradition is authorized by the Treaty and otherwise lawful.

       As detailed in Petitioners’ Memorandum in support of their habeas petition (Dkt. 57 at 8-

14) and the declarations, reports, articles and other documents they have submitted in support

(Dkts. 57-10, 59-5, 59-7 through 59-19, 61-2, 61-3, 62, 63 & 78), if extradited to Japan, the Taylors

(who would not be given bail or the right to return to the U.S. during proceedings) are likely to be

treated in a way that violates fundamental notions of due process, the right to a speedy trial, the

right not to be subjected to lengthy and coercive interrogation in the absence of counsel, protection

against cruel and unusual punishment, the presumption of innocence, the right against self-




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incrimination, and other rights we cherish and the U.S. and the rest of the civilized world have

recognized through various international treaties and human rights conventions. Courts have

recognized that the poor conditions under which a petitioner will be held upon extradition can

themselves constitute irreparable harm warranting a stay of extradition pending appellate review.

Martinez, 2014 WL 4446924 at *4 (“that [petitioner] would be housed in a facility characterized

as one of the worst in [Mexico], in a country with overall poor prison conditions as documented

by the U.S. State Department, constitutes irreparable harm”).

       Further, if a stay is not granted, the Taylors’ extradition will render the instant petition and

the Taylors’ appeal of the Court’s decision moot. Lindstrom v. Graber, 203 F.3d 470, 474 (7th

Cir. 2000) (where petitioner was extradited pending his appeal, court found he had “nothing to

gain from the further prosecution of the appeal,” and thus dismissed the action as moot); Noriega,

2008 WL 331394 at *2 (holding once extradition occurs “the federal courts will lack jurisdiction

and the appeal will effectively be mooted. Thus, even if [petitioner] prevails on his appeal, it

would be a Pyrrhic victory.”).

       Accordingly, denial of a stay pending appeal would not just result in loss of liberty, it would

deprive the Taylors of their right to appeal altogether. Numerous courts have found such

devastating consequences to constitute irreparable harm. Liuksila v. Turner, No. 16-cv-00229

(APM), 2018 WL 6621339, at *1 (D.D.C. Dec. 18, 2018) (granting stay of extradition pending

appeal and holding that “devastating consequences” of extradition and mooting of appeal

constitute irreparable harm); Nezirovic, 2014 WL 3058571, at *2 (W.D. Va. July 7, 2014) (finding

irreparable harm on the ground that habeas petitioner’s appeal would be moot if he were extradited

which “compels the court to stay the extradition pending appeal”); Zhenli Ye Gon, 2014 WL

202112, at *1 (“extradition while his appeal is pending would effectively void [petitioner’s] ability




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to seek meaningful appellate review of this Court’s decision and thus would result in irreparable

harm”).

       C.      The Government and Public Interest Weigh in Favor of a Stay

       The third and fourth factors—harm to the opposing party and the public interest—merge

when the government is the opposing party. Nken, 556 U.S. at 435. “There is a public interest in

ensuring that a person is not wrongfully surrendered to face prosecution abroad.” Liuksila, 2018

WL 6621339 at *2 (citing Nken, 556 U.S. at 436).

       While the United States may have an interest in promptly fulfilling its legal obligations to

its treaty partners, the United States has no legal obligation to extradite the Taylors under the

Treaty on Extradition Between the United States of America and Japan, Mar. 3, 1978, 31 U.S.T.

892, T.I.A.S. No. 9625 (“Treaty”). Under the Treaty, the United States is not required to extradite

its own citizens. Treaty Art. V. Here, the current administration is choosing to extradite the

Taylors, U.S. citizens, and is not under any compulsion or legal obligation to do so. The distinction

between a case involving the extradition of a non-citizen and one involving the requested

extradition of a U.S. citizen is significant. Where it is a U.S. citizen whose extradition is sought,

“staying the extradition to allow him to seek appellate review of his claims that the extradition is

unlawful clearly is in the public interest.” Martinez, 2014 WL 4446924 at *6.

       However, even if the United States were under an obligation to extradite the Taylors, the

devastating and irreparable harm to the Taylors of the government’s doing so before their appellate

rights can be exercised far outweighs any such obligation (which, again, does not exist in the case

of the extradition of U.S. citizens). Indeed, the Treaty expressly contemplates that extradition

takes place in accordance with the law of the requested party: “Extradition shall be granted only if

there is sufficient evidence to prove either that there is probable cause to suspect, according to the




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laws of the requested Party, that the person sought has committed the offense for which extradition

is requested or that the person sought is the person convicted by a court of the requesting Party.”

Treaty Art 3.

        As explained by the court in Martinez:

        The court agrees that the United States’ honoring of its treaty obligations is
        extremely important. But it does not agree that allowing an extraditee to obtain
        review of his legal claims interferes with the United States’ ability to comply with
        its treaty obligations. This country prides itself on the legal process it affords those
        accused of crimes, even though that legal process takes time to complete.

Id. at *5.

        In any event, a delay pending the Taylors’ exercise of their appeal rights will not, in any

meaningful way, harm or otherwise adversely affect the United States, Japan, or their diplomatic

relationship.

                                          CONCLUSION

        For the reasons set forth above and in their previous submissions to this Court, Petitioners

Michael and Peter Taylor respectfully request that the Court stay their extradition and/or surrender

to Japan pending the conclusion of appellate proceedings in the First Circuit (including any en

banc review) and review by the Supreme Court on a petition for a writ of certiorari.

        In the alternative, if the Court denies the instant Motion, the Taylors respectfully request

that the Court at least enter a temporary stay allowing the Taylors to file a motion to stay with the

First Circuit pursuant to Rule 8(a)(2) and staying their extradition until the First Circuit rules on

such a motion.

        Further, in light of the Government’s refusal to commit to deferring the extradition and/or

surrender of the Taylors beyond February 4, 2021, we ask that the Court consider and rule upon




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Petitioners’ motion on an emergency, expedited basis or, in the alternative, enter a temporary stay

pending the Court’s consideration of this Motion.



Dated: January 29, 2021                              Respectfully submitted,

                                                     By their attorneys,

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                                 CERTIFICATE OF SERVICE

       I, Paul V. Kelly, counsel for Petitioners Michael and Peter Taylor, hereby certify that on

January 29, 2021, I served a copy of the foregoing on all registered parties by electronic filing on

ECF.

                                                             /s/ Paul V. Kelly
                                                             Paul V. Kelly




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